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 1       CANDIE M. DIBBLE, WSBA #42279
         Assistant Attorney General
 2       Office of the Attorney General
 3       Corrections Division
         1116 West Riverside Avenue, Suite 100
 4       Spokane, WA 99201-1106
         (509) 456-3123
 5
 6
 7
 8
                                                                 Honorable Thomas O. Rice
 9
                          UNITED STATES DISTRICT COURT
10                       EASTERN DISTRICT OF WASHINGTON
11      JOHN DOE 1; JOHN DOE 2; JANE                    NO. 4:21-cv-05059-TOR
12      DOE 1; JANE DOE 2; JANE DOE 3;
        and all persons similarly situated,             DECLARATION OF DENISE
13                                                      VAUGHAN IN SUPPORT OF
                                      Plaintiffs,       DEFENDANTS’ RESPONSE TO
14                                                      PLAINTIFF’S MOTION FOR
                 v.                                     PRELIMINARY INJUNCTION
15
16      WASHINGTON STATE
        DEPARTMENT OF CORRECTIONS;
17      STEPHEN SINCLAIR,

18                                  Defendants,
                 and
19

20      BONNEVILLE INTERNATIONAL,
        THE MCCLATCHY COMPANY, and
21      ANDREA KELLY,
22                            Interested Parties.
        DECLARATION OF DENISE VAUGHAN IN            1           ATTORNEY GENERAL OF WASHINGTON
                                                                         Corrections Division
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 1      I, DENISE VAUGHAN, make the following declaration:

 2            1.      I have knowledge of the facts herein, am over eighteen years of age,

 3      and am competent to testify to such facts.

 4            2.      I am currently the Information Governance Director for the

 5      Washington Department of Corrections (Department), a position I have held since

 6      July 1, 2018. In this role, I oversee the Department’s management of agency records

 7      and information. Prior to beginning this position, I served as the Department’s Public

 8      Records Officer for approximately ten years, with a one-year break from December

 9      2014 through January 2016, during which time I served as a Public Disclosure Unit

10      Lead for the Washington Department of Social and Health Services.

11            3.      In both my previous and current Department positions, my duties have

12      included statewide oversight of the Department’s public records program, including

13      policy, process, and procedure. This includes development of statewide policy and

14      rules; determination of how best to manage complex records requests; interpretation

15      and application of RCWs, WACs, and case law; advising public records staff

16      statewide regarding changes or implementation in public records law or DOC policy

17      and procedure; and tracking statewide public records statistics and trends. I also

18      supervise the Department’s Public Records Unit (PRU). The PRU is a centralized

19      unit located at DOC Headquarters in Tumwater, Washington. The unit currently

20      includes 22 full-time staff: 16 Public Records Specialists, 3 Staff Supervisors, 1 Unit

21      Supervisor, and 2 support staff. Although the PRU has 16 full time exempt Public

22      Records Specialists, currently only 13 of those positions are filled. Unfortunately,

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 1      vacancies in the Specialists position are not uncommon and compound already high

 2      workloads.

 3            4.       DOC operates 12 facilities, 86 field offices, and 6 Community Justice

 4      Centers. There are also a number of Headquarters divisions, such as Headquarter

 5      Human Resources, Contracts, and Headquarter Health Services. The Department

 6      manages approximately 14,500 incarcerated offenders and supervises approximately

 7      20,000 offenders in the community. The Department currently has a staff of

 8      approximately 8,500 individuals, which makes it the second largest agency in the

 9      state in terms of employees. The Department does not have a centralized records

10      system. Each facility maintains records for the inmates and employees at that facility.

11      The Department also has a number of different electronic record systems. Although

12      some of these systems can be accessed by staff throughout the agency, the levels of

13      access for staff vary depending on the system and the staff. As a result, the

14      Department has developed a public records response process that is coordinated

15      through the Headquarters PRU, but that relies on Public Record Coordinators in the

16      divisions, facilities, and field offices, as well as individual employees, to participate

17      in the process of searching for and submitting records that are responsive to public

18      records requests. This process is outlined in DOC Policy 280.510, Public Disclosure

19      of Records.

20            5.       The Department receives thousands of public records requests each

21      year. These requests include public records requests, incarcerated individual health

22      records requests, chemical dependency requests, central file review requests, and

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 1      incarcerated individual health record file review requests. In 2020, the Department

 2      received 12,659 public records requests. Of these requests, 6,067 were general public

 3      records requests, nearly all of which (5,663 or 93%) were assigned to the PRU. For

 4      Public Record Specialists, the average caseload in 2020 was 114 active requests,

 5      meaning that each specialist had more than 100 active requests at any given time.

 6      These numbers are published in an annual year-end report which is put together to

 7      report to DOC, the Legislature, and others on the PRU’s work. Attachment A is a

 8      true and correct copy of the PRU’s 2020 Year-End Report.

 9            6.       To assist in tracking and managing the Department’s heavy volume of

10      public records requests, the Department uses a software system called GovQA. The

11      GovQA system assigns each public records request a unique tracking number and

12      stores documentation concerning the request, including correspondence between the

13      Department and the requester, staff correspondence, activity assignments and

14      completions, records gathered and produced, and exemption logs (if any). The

15      GovQA system also tracks metrics for requests such as exemptions applied, the date

16      of receipt, status and progress of the request, noted, message history, and closed date,

17      among others. GovQA also allows for the electronic submission, tracking of, and

18      correspondence regarding public record requests through the electronic portal on the

19      Department’s website.

20            7.       All Public Records Specialists in the PRU at Headquarters attend various

21      formal trainings related to the Public Records Act and processing public records

22      requests. Trainings provided by the Department have included Public Disclosure Email

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 1      Vault Training, Public Records Act – Offender Records, Public Records Updates, and

 2      Public Records Officers Celebrating Open Government. This does not include the

 3      informal on-the-job training and instruction that PRU employees receive on a daily

 4      basis or at regular staff meetings.

 5            8.        Individuals seeking to submit a public records request to the Department

 6      can either send the request through the mail or submit a request using the Department’s

 7      online portal accessible through the Department’s public website.1

 8            9.        On March 12, 2021, the Department received a request through the

 9      online portal from Stacia Glenn at stacia.glenn@thenewstribune.com. The request

10      specifically sought: “1. The number of transgender or gender non-conformist inmates

11      who have been transferred to the Washington Corrections Center for Women (WCCW)

12      in recent months. 2. The dates these incarcerated individuals were transferred to

13      WCCW and the facilities they were transferred from. 3. The names and ages of these

14      incarcerated individuals and the convictions they are currently serving time for. 4. The

15      number of complaints and or disciplinary actions taken against these incarcerated

16      individuals and any records associated with those complaints or disciplinary actions.”

17      The request was assigned tracking number P-19274. Attachment B is a true and correct

18      copy of the correspondence for P-19274.

19      ///

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21              1
                    https://washingtondoc.govqa.us/WEBAPP/_rs/(S(2m0e3q4ofjm4kh5o1hln
22        00zy))/login.aspx
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 1            10.     On March 16, 2021, the Department received a request through the

 2      online portal from Aaron Granillo at agranillo@bonneville.com. The request

 3      specifically sought “1. The number of transgender inmates currently housed in DOC

 4      prison facilities. 2. The number of transgender inmates who are currently waiting to be

 5      transferred to a prison matching their sexual identity. 3. The number of inmates

 6      evaluated and confirmed by DOC to be transgendered. 4. The number of transfer

 7      requests made by transgender individuals that have been approved and denied.

 8      5. Records explaining the reasoning for any denial of a transgendered incarcerated

 9      individuals request for transfer. 6. The number of transgendered incarcerated

10      individuals who have requested gender reassignment surgery. 7. The number of

11      transgendered incarcerated individuals who have requested and received gender

12      reassignment surgery. 8. The number of transgendered incarcerated individuals who are

13      currently scheduled for gender reassignment surgery. 9. The names of all transgendered

14      incarcerated individuals who have requested, received or are scheduled for gender

15      reassignment surgery.10. Any infractions, complaints, reports, concerns submitted by

16      other staff or other incarcerated individuals regarding the following individuals:

17      Princess Zoee Marie Andromeda-Love, DOC #328585; Donna Perry, DOC #400378;

18      William E. Martin Jr., DOC #401212; Fernando F. Chirinos, DOC #327881; Bryan P.

19      Kim, DOC #315649; John L. Forrester, DOC #256322.” The request was assigned

20      tracking number P-19375. Attachment C is a true and correct copy of the

21      correspondence for P-19375.

22      ///

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 1            11.      On March 19, 2021, the Department received a request through the

 2      online portal from Andrea Kelly at akelly617@icloud.com. The request specifically

 3      sought “1. The number of transgender individuals currently incarcerated broken out by

 4      facility location. 2. Number of incarcerated individuals who have been transferred from

 5      a men's facility to a women's facility since January 1, 2021. 3. The number of male

 6      incarcerated individuals who identify as female, non-binary or any other gender identity

 7      who are currently housed at a Women's prison facility. 4. The number of incarcerated

 8      individuals who have transferred from a Women's facility to a Men's facility since

 9      January 1, 2021. 5. The number of female incarcerated individuals who identify as

10      male, non-binary or any other gender identity who are currently housed in a Men's

11      prison facility.” The request was assigned tracking number P-19460. Attachment D is

12      a true and correct copy of the correspondence for P-19460.

13            12.      The Department is in the process of identifying and gathering responsive

14      records to all three requests. The Department has already identified and is prepared to

15      provide a first installment of records responsive to P-19375 which contain 309 pages

16      of infraction records for inmate Princess Zoee Marie Andromeda-Love,

17      DOC #328585.

18            13.      When reviewing records responsive to the requests, the Department

19      determines and applies redactions and withholdings under RCW 42.56 or other

20      applicable statutes. The Department is currently unaware of any provision under

21      RCW 42.56 or any other statute which specifically exempts an individual’s gender

22      identity from public disclosure.

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 1            14.      With respect to DOC 02-420 Preferences form, DOC 02-384 Housing

 2      Protocol for Transgender, Intersex and Gender Non-Conforming Individuals form, the

 3      Prison Risk Assessment, Prison Rape Elimination Act investigation reports, legal face

 4      sheets, infraction reports or grievance documents, none of these forms/documents are

 5      withheld in their entirety under RCW 42.56. While the form/document may be

 6      determined not to be withheld in its entirety, forms/documents could contain content

 7      that may be redacted under RCW 42.56. For example, if a legal face sheet was identified

 8      as responsive to a public records request, the individual’s social security number, victim

 9      information and other content exempt under RCW 42.56 would be redacted before

10      providing the record to the requestor.

11            15.      In reviewing the tracking spreadsheet for inmates who identify as

12      transgender, intersex and gender non-conforming, attached to the declaration of Jeneva

13      Cotton as Attachment D, the document does not contain information that would be

14      redacted or withheld under RCW 42.56.

15            16.      Without a signed authorization, any record contained in an inmate’s

16      medical file, which also includes records related to their mental health and dental

17      treatment, would be withheld in their entirety under RCW 70.02. In addition, inmate

18      medical, mental health, dental diagnosis and treatment information would be redacted

19      if the information was included by a provider and contained outside of the inmate’s

20      medical record. For example, if an inmate’s DOC 02-384 Housing Protocol for

21      Transgender, Intersex and Gender Non-Conforming Individuals form included

22      information related to the inmate’s gender dysphoria diagnosis and treatment or genital

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 1      anatomy from a mental health or medical provider, that information would be redacted

 2      from the document under RCW 70.02 before providing the record to the requestor in

 3      response to a PRA request. However, if the inmate included the information voluntarily

 4      in a grievance or some other record, the Department would not apply a redaction in

 5      response to a PRA request.

 6            17.      The Department is unaware of any exemptions under RCW 42.56 or
 7      other statute which would permit redaction of information related to an inmate’s sexual
 8      orientation, sexual history, or history of alleged sexual victimization if contained
 9      outside of an inmate’s medical record.
10      ///
11      ///
12      ///
13      ///
14      ///
15      ///
16            18.      While Department policies may establish that records are maintained as
17      confidential for the purposes of staff access and dissemination of the contents to the
18      prison population that does not preclude the Department from its statutory obligation
19      of production of the records in response to a public disclosure request. For example,
20      while DOC Policy 490.700 indicates that disclosure of an individual’s sexual
21      orientation, gender expression/transition status, intersex status or gender identity will
22      be maintained as confidential for administrative and custodial purposes, the policy does

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 1   not create an exemption of this information in response to a public disclosure request
 2   under RCW 42.56.
 3         I declare under the laws of the United States of America that the foregoing is
 4   true and correct.
 5         DATED this ______
                      20th   day of April, 2021, at Tumwater, Washington.
 6
 7                                            DENISE VAUGHAN
 8                                            Information Governance Director
                                              Washington Department of Corrections
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